Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 1 of 15




                    Exhibit B
        Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 2 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
THE NEW YORK TIMES COMPANY,                             :
                                                        :   No. 1:23-cv-11195-SHS
                       Plaintiff,                       :
                                                        :
                          v.                            :
                                                        :
MICROSOFT CORPORATION, OPENAI,                          :
INC., OPENAI LP, OPENAI GP, LLC,                        :
OPENAI, LLC, OPENAI OPCO LLC,                           :
OPENAI GLOBAL LLC, OAI                                  :
CORPORATION, LLC, and OPENAI                            X
HOLDINGS, LLC,

                      Defendants.

-------------------------------------------------------

   [PROPOSED] STIPULATION & ORDER RE: DISCOVERY OF ELECTRONICALLY
                         STORED INFORMATION
       Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 3 of 15




       To expedite the flow of discovery material and to facilitate the consistency in the format

of the documents to be produced by the Parties in this case, Plaintiff and Defendants (collectively

“Parties”), by and through their respective counsel, hereby stipulate and agree to the terms of this

[Proposed] Stipulation & Order Re: Discovery of Electronically Stored Information (the “ESI

Protocol” or “Protocol”).

       1.      This Order supplements all other discovery rules and orders. It streamlines

               Electronically Stored Information (“ESI”) production to promote a “just, speedy,

               and inexpensive determination” of this action, as required by Federal Rule of Civil

               Procedure 1.

       2.      This Order may be modified in the Court’s discretion or by stipulation.

       3.      The Parties are aware of the importance the Court places on cooperation and

               commit to cooperate in good faith throughout the matter consistent with this Court’s

               expectations.

       4.      With respect to email productions, the producing party will undertake a reasonable

               investigation, collect from the custodians it identifies as most likely to have

               responsive information, and use search terms reasonably calculated to identify

               responsive materials consistent with the parties’ discovery obligations pursuant to

               the Federal Rules of Civil Procedure. Absent a showing of good cause by the

               Requesting Party, each Producing Party shall be required to collect from no more

               than 10 custodians. For the sake of clarity, for the purposes of the limitation on

               number of custodians, (1) The New York Times is a Producing Party, (2) Microsoft

               is a Producing Party, and (3) all OpenAI Defendants shall be collectively treated as

               one Producing Party.
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 4 of 15




5.    The Producing Party will in the first instance propose search terms and custodians

      and corresponding hit reports. The parties will negotiate in good faith, including

      by meeting and conferring, to identify custodians and search terms. The Producing

      Party will provide hit reports for proposed search terms to inform such negotiations.

      If the Requesting Party makes a proposal for additional search terms, the Producing

      Party must respond within five business days by either accepting a proposal,

      rejecting it and providing a hit report, or making a counterproposal and providing

      a hit report. If the Requesting Party makes a proposal for additional custodians, the

      Producing Party must respond within ten business days by either accepting a

      proposal, rejecting it and providing a hit report, or making a counterproposal and

      providing a hit report.

6.    The parties will disclose at the outset any use of enterprise messaging tools, such

      as Slack or MS Teams, including the type of subscription and retention settings in

      place. The parties will meet and confer regarding issues relating to the parameters

      for collection of such data, the format of the production, and other unique issues to

      this type of data, including but not limited to the parsing of the conversations.

7.    Nothing in this Order prevents the parties from agreeing to use technology assisted

      review (“TAR”) and other techniques insofar as their use improves the efficacy of

      discovery. The parties shall meet and confer in good faith regarding disputes

      pertaining to the use of TAR. If, after a timely objection and meet and confer

      conference, the dispute is still unresolved, the party opposing the use of TAR must

      file a letter with the Court as provided in paragraph 2(G) of the Court’s Individual

      Practices within five (5) business days of the parties’ conference.
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 5 of 15




8.    Production Format for ESI.

      a.     Except as otherwise provided in this Order, all documents existing in

             electronic format (e.g., Word, PDF, webpage files) shall be produced as

             300 DPI TIFF black and white images with 1-bit depth and with a Bates

             number stamped on each page, document metadata (including extracted

             or OCR text), and a link to the associated extracted or OCR text file. The

             parties will consider re-producing select and specifically identified color

             documents as paginated color JPGs upon reasonable request by the

             receiving party.

      b.     Source code and certain other highly confidential technical materials shall

             be made available for inspection on a secure computer in a secured room

             without Internet access or network access to other computers at a secure

             location determined by the producing party, pursuant to the terms of the

             parties’ separately negotiated agreement for the discovery of “HIGHLY

             CONFIDENTIAL – SOURCE CODE” materials.

      c.     Spreadsheet-type files (e.g., Microsoft Excel), PowerPoint files, and

             Multimedia files (video, audio, voicemail, etc.) should be produced in

             native format unless they require redaction. Documents produced in

             native format should be named according to the Bates number assigned,

             with the Confidentiality designation appended to the Bates numbers with

             a hyphen. Single-page Bates-stamped TIFF image slip-sheets will be

             included for each document produced in native format. The slip-sheets

             will display the Bates number of the native file, the Confidentiality
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 6 of 15




              endorsement, and an endorsement stating, “File Produced Natively.”

      d.      For Excel and PowerPoint type files that are printed to TIFF for redaction

              and redacted (rather than redacted in native), the following printing

              options shall be enabled:


                 i.   Excel Print to TIFF Options

                          1. Unhide columns and rows
                          2. Unhide worksheets
                          3. Autofit columns and rows, settings to be over by columns
                             first and, then down by rows
                          4. Print gridlines
                          5. Do not apply Autofilter
                          6. Display headings
                          7. Display comments
                          8. Header and Footer filename field handling: Show field
                             code

                ii.   PowerPoint Print to TIFF Options

                          1. Print notes pages
                          2. Print hidden slides
                          3. Print comments

      e. The Producing Party shall also make reasonable efforts to ensure that any

           spreadsheets produced only as TIFF images because of redactions are

           formatted so as to be legible. For redacted items which were originally ESI,

           all metadata fields noted in this protocol that do not contain privileged or

           protected information will be provided and will include all non-redacted data.

           A document’s status as redacted does not relieve the Producing Party from

           providing all of the metadata required herein.

      f. All attachments, addendums,enclosures, and/or exhibits to a parent document

           will be, to the extent reasonably possible, produced immediately following

           the parent document and identified as they relate to the respective parent
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 7 of 15




         document with the parent/child relationship intact.

      g. The parties shall meet and confer in good faith regarding reasonable

         methodologies to query or sample training data.

9.    Metadata. Load or Concordance DAT files should include, where applicable and

      to the extent it exists and was captured at the time of the collection, the information

      listed in Exhibit A attached. To the extent that metadata does not exist or is not

      reasonably accessible or available for any documents produced, nothing in this

      Order shall require any party to extract, capture, collect or produce such metadata.

10.   Privilege Logs. A party that withholds or redacts documents, ESI, and any other

      materials and information on the grounds of attorney-client privilege, attorney work

      product, and/or any other applicable privilege, immunity or protection from

      discovery, shall produce a privilege log.          The following documents and

      communications need not be included on a privilege log: (1) privileged

      communications exclusively between a party and its outside or in-house counsel on

      or after September 9, 2023, (2) work product performed by a party at the direction

      of its outside or in-house counsel on or after September 9, 2023, and (3) privileged

      or work product documents or communications between a party and its outside or

      in-house counsel related to the following lawsuits and investigations: Doe 1, et al.

      v. GitHub, Inc. et al., Case No. 4:22-cv-06823-JST (N.D. Cal.); In re OpenAI

      ChatGPT Litigation, Case No. 3:23-cv-03223-AMO (N.D. Cal.); Authors Guild, et

      al., v. OpenAI, Inc, et al., Case No. 1:23-cv-08292-SHS (S.D.N.Y.); Alter, et al. v.

      OpenAI Inc. et al., 23-cv-10211-SHS (S.D.N.Y.); The New York Times Company

      v. Microsoft Corp. et al., 23-cv-11195-SHS (S.D.N.Y.); Basbanes et al. v.
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 8 of 15




      Microsoft Corp. et al., 24-cv-00084-SHS (S.D.N.Y.); The Intercept Media, Inc. v.

      OpenAI, Inc. et al., Case No. 1:24-cv-01515-JSR (S.D.N.Y.); Raw Story Media,

      Inc. et al v. OpenAI Inc. et al., 1:24-cv-01514-CM (S.D.N.Y.); the pending Federal

      Trade Commission Investigation, FTC File No. 232-3044, and any other

      subsequently filed or commenced lawsuits or investigations relating to OpenAI or

      Microsoft. Privilege logs shall be served within a reasonable time after the parties’

      substantial completion of production of documents. The privilege log shall be

      produced in Excel format and include:

      a. A unique number for each entry on the log.

      b. Date of document for all ESI and to the extent known or discernible for all

         hard copy documents. For emails this should be the sent date of the document

         and for loose ESI this should be the last-modified or create date of the

         document.

      c. Custodian of the document. For emails this should be populated with the

         metadata extracted from the Custodian(s) field. For loose ESI, this should be

         populated with the Custodian value assigned to the instance of the document

         in question.

      d. Author of the document. For emails this should be populated with the

         metadata extracted from the “Email From” field associated with the file. For

         loose ESI, this should be populated with the metadata extracted from the

         “Author” field. For hard copy documents, this will be populated with the

         “Custodian.”

      e. Recipient(s) of the document where reasonably ascertainable. For emails this
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 9 of 15




         will be populated with the metadata extracted from the “Email To” field

         associated with the file. Separate columns will be included for the metadata

         extracted from the “Email CC” and “Email BCC” fields, where populated.

      f. The type of privilege being asserted, for example: (a) AC for Attorney/Client,

         (b) WP for Attorney Work Product, (c) CI for Common Interest.

      g. The reason for the redaction. If more than one reason, separate by semi-

         colons.

      h. Nothing in Paragraph 10 of this Order shall be read to preclude the parties

         from logging documents categorically or read to be inconsistent with Local

         Rule 26.2.

11.   Any Party that issues a non-party subpoena shall timely notify other Parties when

      it receives non-party productions of documents, ESI or other responses from the

      non-party, and shall timely provide copies of all such productions in the format in

      which they were received from the non-party to the other Parties. If the non-party

      produces documents or ESI that are not Bates labeled, the Receiving Party will

      Bates-label the documents or ESI before producing a copy to the other Parties if the

      produced documents or ESI are of the type so requiring consistent with other

      provisions of this Order. Nothing in this Protocol precludes a Receiving Party from

      reviewing a non-party production of documents or ESI and applying (if the non-

      party produced documents without a confidentiality designation) or elevating a

      confidentiality   designation   (e.g.,   elevating   documents     designated    as

      “CONFIDENTIAL” to “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

      ONLY”) if the production contains confidential or extremely sensitive information.
Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 10 of 15




12.   Technical Variances. Recognizing that each Producing Party may experience

      production issues due to data systems or files that may not be fully compatible with

      the technical specifications set forth herein, any practice or procedure set forth

      herein may be varied by agreement of the Parties, confirmed in writing, to

      accommodate such issues and/or where such variance is deemed appropriate to

      facilitate the timely and economical production of Documents or ESI. No Party

      shall unreasonably object to any such variance.

13.   Reproduction as Natives. The Parties agree that to the extent any Party seeks

      production in native format of specifically identified ESI produced originally in

      TIFF form, the Producing Party shall respond reasonably and in good faith to any

      such request.

14.   Pursuant to Fed. R. Evid. 502(d) and (e), the disclosure during discovery of any

      communication, information, or material that is protected by the attorney-client

      privilege or work-product protection, as defined by Fed. R. Evid. 502(g), shall not

      waive the privilege or protection in the above-captioned case, or any other federal

      or state proceeding, for either that communication, information, or material or the

      subject matter of the same, unless there is an intentional waiver of the privilege or

      protection to support an affirmative use of such communication, information, or

      material in support of the Party’s claim or defense, in which event the scope of any

      such waiver shall be determined by Fed. R. Evid. 502(a)(2) and (3).

15.   In the event of an inadvertent production of material protected by the attorney-client

      privilege or work-product protection, the producing party may notify the receiving

      party within 30 days after the producing party becomes aware of such inadvertent
    Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 11 of 15




           production.   Upon notification, the receiving party shall immediately return,

           sequester, or destroy the inadvertently-produced Discovery Material and all copies

           as well as notes, summaries, and/or work product reflecting the content of such

           material. If only a portion of the Discovery Material is privileged, the producing

           party shall immediately provide a new version of the Discovery Material in which

           the privileged material has been redacted. No further use or disclosure shall be

           made of the inadvertently-produced Discovery Material, and the receiving party

           shall take all reasonable and appropriate steps to retrieve and destroy the Discovery

           Material, and all copies, from any person who has received the Discovery Material

           through the receiving party.

     IT IS SO STIPULATED, through Counsel of Record.

 Dated:
                                                 Counsel for Plaintiff

 Dated:
                                          Counsel for Microsoft Defendants

 Dated:
                                           Counsel for OpenAI Defendants



     IT IS ORDERED that the forgoing Agreement is approved.

Dated:
                                                 SIDNEY H. STEIN
                                              United States District Judge
     Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 12 of 15




                                      EXHIBIT A

                                                    Native Files &
      Field    Data Type          Paper                                      Email
                                                 Email Attachments
BegDoc         Integer -      Starting Bates     Starting Bates #      Starting Bates #
               Text           #
EndDoc         Integer -      Ending Bates #     Ending Bates #        Ending Bates #
               Text
BegAttach      Integer -      Starting bates #   Starting bates # of   Starting bates # of
               Text           of document        document family       document family
                              family
EndAttach      Integer -      Ending bates #     Ending bates # of     Ending bates # of
               Text           of document        document family       document family
                              family
Custodians     Text –                            All names of people   All names of
               paragraph                         the document was      people the
               Separate                          collected from even   document was
               entries with                      if removed from       collected from
               “;”                               production as a       even if removed
                                                 duplicate             from production as
                                                                       a duplicate
From           Text -                                                  Sender of message
               paragraph
To             Text –                                                  Recipients of
               paragraph                                               message
               Separate
               entries with
               “;”
CC             Text –                                                  Copied recipients
               paragraph
               Separate
               entries with
               “;”
BCC            Text –                                                  Blind copied
               paragraph                                               recipients
               Separate
               entries with
               “;”
Subject        Text -                                                  Subject of message
               paragraph
DateSent       Date                                                    Date message sent
               (mm/dd/yy
               yy)
DateReceived   Date                                                    Date message
               (mm/dd/yy                                               received
               yy)
    Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 13 of 15




                                                       Native Files &
    Field         Data Type          Paper                                      Email
                                                    Email Attachments
FileName          Text -                           Name of original       Name of original
                  paragraph                        file including         file including
                                                   extension              extension
FileExtension     Text                             Extension of           Extension of
                                                   original file          original file
DateCreated       Date/Time                        Date file was
                  (mm/dd/yy                        created
                  yy)
DateModified      Date/Time                        Date file was last
                  (mm/dd/yy                        modified
                  yy)
Author            Text -                           Document author
                  paragraph                        from metadata
Confidentiality   Single        Designation        Designation branded Designation
                  choice        branded onto       onto the document     branded onto the
                                the document                             document
FullText          Link          Link to the        Link to the extracted Link to the
                                extracted or       or OCR text file      extracted or OCR
                                OCR text file                            text file
DocLink           Link          Link to the        Link to the native    Link to the native
                                native file        file                  file
MD5Hash           Text                             The MD5Hash           The MD5Hash
                                                   value of the file     value of the file
AttachNam         Text –                                                 File name of the
                  paragraph                                              attachment, with
                  Separate                                               any attachments
                  entries with                                           separated by semi-
                  “;”                                                    colon.
PgCount           Integer      Number of           Number of pages in Number of pages
                               pages in the        the item              in the item
                               item
Custodian         Text –       Name of             Name of person or      Name of person or
                  paragraph    person or           source from            source from
                               source from         whose/which files      whose/which files
                               whose/which         the item is produced   the item is
                               files the item is                          produced
                               produced
Parent            Date/Time                        The date associated    The date
Date/Sort Date    (mm/dd/yy                        with a family’s        associated with a
                  yy)                              parent record, which   family’s parent
                                                   is assigned as         record, which is
                                                   follows:               assigned as
                                                                          follows:
    Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 14 of 15




                                                 Native Files &
    Field        Data Type       Paper                                      Email
                                              Email Attachments
                                              Loose Edocs             Emails populated
                                              populated with 1st      with 1st
                                              occurrence of Date      occurrence: Date
                                              Last Modified or        Sent or Date
                                              Date Created.           Received or Date
                                                                      Last Modified.
                                                                      Email attachments
                                                                      populated from the
                                                                      date above.
                                                                      Outlook
                                                                      Appointments
                                                                      populated with 1st
                                                                      occurrence of Start
                                                                      Date or Date Last
                                                                      Modified.
TimeReceived     Time                                                 Time email or
                                                                      calendar item was
                                                                      received (Date and
                                                                      time fields may be
                                                                      combined)
FileSize         Integer                      Size (in kilobytes)     Size (in kilobytes)
                                              of the source native    of the source
                                              file                    native file
SourceFilePath   Text –                       The directory           The directory
                 paragraph                    structure or path       structure or path
                                              where the original      where the original
                                              file was stored on      file was stored on
                                              the Party’s source      the Party’s source
                                              computer system,        computer system,
                                              ending in the           ending in the
                                              filename. Any           filename. Any
                                              container name          container name
                                              (such as ZIP or PST     (such as ZIP or
                                              containers) is          PST containers) is
                                              included in the path.   included in the
                                                                      path.
SourceParty      Text –      Name of entity   Name of entity or       Name of entity or
                 paragraph   or Party         Party producing the     Party producing
                             producing the    item                    the item
                             item
RecordType       Single                       Indicates item type     Indicates item type
                 choice                       (e.g., email, edoc,     (e.g., email, edoc,
                                              attachment)             attachment)
   Case 1:23-cv-11195-SHS Document 113-2 Filed 05/03/24 Page 15 of 15




                                                Native Files &
    Field     Data Type        Paper                                       Email
                                              Email Attachments
FileType      Single                         (e.g., Outlook,         (e.g., Outlook,
              choice                         Adobe Acrobat, MS       Adobe Acrobat,
                                             Word, etc.)             MS Word, etc.)
TimeSent      Time                                                   (e.g., Outlook,
(hh:mmAM/P                                                           Adobe Acrobat,
M)                                                                   MS Word, etc.)
Number of     Integer                                                Number of
Attachments                                                          attached,
                                                                     embedded or
                                                                     grouped items
TimeCreated   Time                           Time the item was
(hh:mm                                       created (Date and
AM/PM)                                       time fields may be
                                             combined)
ModifiedBy    Text –                         Person who last
              paragraph                      modified or saved
                                             the item, as
                                             populated in the
                                             metadata or
                                             document properties
                                             of the native file
LastModTime   Time                           Time the item was
(hh:mm                                       last modified
AM/PM)
Title         Text -                         Any value populated
              paragraphe                     in the Title field of
                                             the source file
                                             metadata or item
                                             properties
Redacted      Single       User-generated    User-generated field    User-generated
              choice       field that will   that will indicate      field that will
                           indicate          redactions. With the    indicate
                           redactions.       word                    redactions. With
                           With the word     “REDACTED”.             the word
                           “REDACTED”        Otherwise, blank.       “REDACTED”.
                           . Otherwise,                              Otherwise, blank.
                           blank.
